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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 MICHAEL GONIDAKIS, et al.,

                Plaintiffs,

                        v.

 OHIO REDISTRICTING COMMISSION,                       Case No. 2:22-cv-773
 et al.,

                Defendants.

                        v.

 LEAGUE OF WOMEN VOTERS OF OHIO
 and A. PHILIP RANDOLPH INSTITUTE
 OF OHIO,

                Intervenor-Defendants.




ANSWER AND DEFENSES OF INTERVENOR-DEFENDANTS LEAGUE OF WOMEN
    VOTERS OF OHIO AND A. PHILIP RANDOLPH INSTITUTE OF OHIO


       Intervenor-Defendants League of Women Voters of Ohio and A. Philip Randolph

Institute of Ohio, by and through their attorneys, respond to the allegations in Plaintiffs’

complaint, dated February 18, 2022.

       To the extent that the complaint’s headings, subheadings, or table of contents contain

factual allegations, they are denied. Intervenor-Defendants further answer as follows:

       1.      The allegations in Paragraph 1 state legal conclusions and therefore do not require

a response. To the extent a response is required, Intervenor-Defendants lack knowledge or

information sufficient to form a belief concerning the truth of the allegations in Paragraph 1, and

deny those allegations on that basis.
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       2.      The allegations in Paragraph 2 state legal conclusions and therefore do not require

a response. To the extent a response is required, Intervenor-Defendants admit the Ohio

Redistricting Commission (the “Commission”) passed two plans, expressly deny that these plans

met the parameters required under the Ohio Constitution, and admit that these plans were struck

down by the Ohio Supreme Court.

       3.      Admitted.

       4.      Intervenor-Defendants admit that the Commission claims that it is at an impasse.

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the remaining allegations in Paragraph 4, and deny those allegations on that basis.

       5.      The allegations in Paragraph 5 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

       6.      The allegations in Paragraph 6 state legal conclusions and therefore do not require

a response. To the extent a response is required, Intervenor-Defendants deny those allegations.

                                          THE PARTIES

       7.      Intervenor-Defendants lack knowledge or information sufficient to form a belief

concerning the truth of the allegations in Paragraph 7 and related subparagraphs, and deny those

allegations on that basis.

       8.      The allegations in Paragraph 8 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.




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       9.      The allegations in Paragraph 9 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

       10.     Admitted.

                                 JURISDICTION AND VENUE

        11.    The allegations in Paragraph 11 state legal conclusions and therefore do not

require a response. To the extent a response is required, Intervenor-Defendants deny that this

Court has subject-matter jurisdiction over this case.

       12.     The allegations in Paragraph 12 state legal conclusions and therefore do not

require a response. To the extent a response is required, Intervenor-Defendants lack knowledge

or information sufficient to form a belief concerning the truth of the allegations, and deny those

allegations on that basis.

       13.     Admitted.

       14.     The allegations in Paragraph 14 state legal conclusions and therefore do not

require a response. To the extent a response is required, Intervenor-Defendants deny those

allegations.

                                    STATEMENT OF FACTS

A.     Ohio voters elect bicameral legislature.

       15.     Admitted.

       16.     Admitted.

       17.     Admitted.

       18.     Admitted.




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B.     New districts using federal census data in 2010 and approved by Ohio Supreme
       Court.

       19.     Admitted.

       20.     The allegations in Paragraph 20 state legal conclusions and therefore do not

require a response. To the extent a response is required, Intervenor-Defendants lack knowledge

or information sufficient to form a belief concerning the truth of the allegations, and deny those

allegations on that basis.

       21.     The allegations in Paragraph 21 state legal conclusions and therefore do not

require a response.

C.     Ohioans create new process for 2020 that still relies on federal census data.

       22.     Admitted.

       23.     The allegations in Paragraph 23 state legal conclusions and therefore do not

require a response. To the extent a response is required, Intervenor-Defendants lack knowledge

or information sufficient to form a belief concerning the truth of the allegations in Paragraph 23,

and deny those allegations on that basis.

       24.     Admitted.

       25.     Paragraph 25 states legal conclusions and therefore does not require a response.

To the extent a response is required, Intervenor-Defendants admit that various factors may

include statewide state and federal partisan general election results during the last ten years.

       26.     Paragraph 26 states legal conclusions and therefore does not require a response.

D.     The COVID-19 pandemic interrupts the 2020 decennial census.

       27.     Admitted.

       28.     Admitted.

       29.     Admitted.



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       30.     Admitted.

       31.     Admitted.

       32.     Admitted.

       33.     Admitted.

       34.     Admitted.

E.     The Redistricting Commission adopts its first plan using the most recent census
       data in September 2021 (“First Plan”).

       35.     Admitted.

       36.     Admitted.

       37.     Admitted.

       38.     Intervenor-Defendants lack knowledge or information sufficient to form a belief

concerning the truth of the allegations in Paragraph 38, and deny those allegations on that basis.

       39.     Admitted.

       40.     The allegations in Paragraph 40 state legal conclusions and therefore do not

require a response. To the extent a response is required, Intervenor-Defendants deny those

allegations.

F.     Three months later, in January 2022, the Ohio Supreme Court rejects the First
       Plan.

       41.     Admitted.

       42.     Admitted.

G.     The Redistricting Commission adopts a Second Plan, again using the most recent
       census data.

       43.     Admitted.

       44.     Intervenor-Defendants lack knowledge or information sufficient to form a belief

concerning the truth of the allegations in Paragraph 44, and deny those allegations on that basis.



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       45.     Admitted.

       46.     Paragraph 46 characterizes Plaintiffs’ claims and states legal conclusions and

therefore does not require a response. To the extent a response is required, Intervenor-

Defendants deny the allegations in Paragraph 46.

       47.     Paragraph 47 characterizes Plaintiffs’ claims and states legal conclusions and

therefore does not require a response. To the extent a response is required, Intervenor-

Defendants deny the allegations in Paragraph 47.

       48.     Paragraph 48 characterizes Plaintiffs’ claims and states legal conclusions and

therefore does not require a response. To the extent a response is required, Intervenor-

Defendants admit that objections to the Commission’s First Plan were filed, but otherwise deny

the remaining allegations.

H.     Primary deadline passes in February 2022 for candidates while the Redistricting
       Commission’s Second Plan is considered.

       49.     Admitted.

       50.     Admitted.

       51.     Admitted.

I.     Ohio Supreme Court rejects Second Plan and orders Third Plan.

       52.     Admitted.

       53.     Admitted.

J.     Redistricting Commission declares impasse and cannot issue Third Plan.

       54.     Intervenor-Defendants admit that the Commission convened on February 17,

2022, but deny the remaining allegations in Paragraph 54 to the extent they suggest that the

Commission complied with the Ohio Supreme Court’s orders.




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        55.    Intervenor-Defendants admit that the Commission claims that it could not reach

an agreement. Intervenor-Defendants lack knowledge or information sufficient to form a belief

concerning the truth of the remaining allegations in Paragraph 55, and deny those allegations on

that basis.

        56.    Intervenor-Defendants admit that the Commission claims that it is at an impasse

and did not enact a plan on February 17, 2022. Intervenor-Defendants lack knowledge or

information sufficient to form a belief concerning the truth of the remaining allegations in

Paragraph 56, and deny those allegations on that basis.

K.      Plaintiffs are now stuck in malapportioned districts (or no district at all).

        57.    The allegations in Paragraph 57 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations in Paragraph 57, and deny those allegations on that basis.

        58.    The allegations in Paragraph 58 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

        59.    The allegations in Paragraph 59 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

         60.   The allegations in Paragraph 60 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,




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Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

        61.    The allegations in Paragraph 61 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

       62.     The allegations in Paragraph 62 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

       63.     The allegations in Paragraph 63 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

       64.     The allegations in Paragraph 64 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

                      COUNT I: LEGISLATIVE MALAPPORTIONMENT

       65.     The allegations in Paragraph 65 state legal conclusions and therefore do not

require a response.

       66.     Admitted.

       67.     The allegations in Paragraph 67 state a legal conclusion and therefore does not

require a response. To the extent a response is required, Intervenor-Defendants deny the

allegations.




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       68.     The allegations in Paragraph 68 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

       69.     The allegations in Paragraph 69 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

       70.     The allegations in Paragraph 70 state legal conclusions and therefore do not

require a response. To the extent a response is required, Intervenor-Defendants lack knowledge

or information sufficient to form a belief concerning the truth of the allegations, and deny those

allegations.

               COUNT II, ALTERNATIVE: DENIAL OF RIGHT TO VOTE

       71.     The allegations in Paragraph 71 state legal conclusions and therefore do not

require a response.

       72.     The allegations in Paragraph 72 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants admit that the partisan candidacy deadline has passed, but lack knowledge

or information sufficient to form a belief concerning the truth of the remaining allegation

regarding the nonexistence of state legislative districts, and deny that allegation on that basis.

       73.     The allegations in Paragraph 73 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

       74.     The allegations in Paragraph 74 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,




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Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

       75.     The allegations in Paragraph 75 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

             COUNT III: DEPRIVATION OF FREEDOM OF ASSOCIATION

       76.     The allegations in Paragraph 76 state legal conclusions and therefore do not

require a response.

       77.     The allegations in Paragraph 77 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

       78.     The allegations in Paragraph 78 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

       79.     The allegations in Paragraph 79 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants lack knowledge or information sufficient to form a belief concerning the

truth of the allegations, and deny those allegations on that basis.

       80.     The allegations in Paragraph 80 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.




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                         COUNT IV: PRELIMINARY INJUNCTION

       81.     The allegations in Paragraph 81 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

       82.     The allegations in Paragraph 82 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny those allegations.

       83.     The allegations in Paragraph 83 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny the allegations as they might pertain to Intervenor-Defendants and

deny that Plaintiffs’ claims have merit.

       84.     The allegations in Paragraph 84 characterize Plaintiffs’ claims and state legal

conclusions and therefore do not require a response. To the extent a response is required,

Intervenor-Defendants deny the allegations as they might pertain to Intervenor-Defendants and

deny that Plaintiffs’ claims have merit.

                          REQUEST FOR THREE-JUDGE PANEL

       85.     The allegations in Paragraph 85 state legal conclusions and therefore do not

require a response. To the extent a response is required, Intervenor-Defendants deny those

allegations.

                        INTERVENOR-DEFENDANTS’ DEFENSES

       Intervenor-Defendants state the following defenses and reserve their right to assert

other and additional defenses, cross claims, and third-party claims not asserted herein of

which it becomes aware through discovery or other investigation as may be appropriate at

a later time. In asserting these defenses, Intervenor-Defendants do not assume any burden


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of proof, persuasion or production with respect to any issue where the applicable law

places the burden upon Plaintiffs. Intervenor-Defendants aver that some of the following

defenses are actually elements of Plaintiffs’ claims on which Plaintiffs bear the burden of

proof, but pleads them as defenses out of an abundance of caution.

                                       FIRST DEFENSE

       The complaint fails to assert subject-matter jurisdiction pursuant to Rule 12(b)(1) of the

Federal Rules of Civil Procedure.

                                       SECOND DEFENSE

       The complaint fails to state a claim upon which relief can be granted pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure.

                                       THIRD DEFENSE

       The Court should dismiss or stay this case and refrain from adjudicating Plaintiffs’

malapportionment case on abstention grounds.

                                      FOURTH DEFENSE

       Plaintiffs improperly seek to invoke a three-judge panel pursuant to 28 U.S.C. § 2284(a)

for an unripe malapportionment case.

                                       FIFTH DEFENSE

       Intervenor-Defendants affirmatively plead and rely upon all defenses and affirmative

defenses set forth in Rules 8(c) and 12(b) of the Federal Rules of Civil Procedure or in the

statutes under which Plaintiffs have brought suit, that are or may hereafter become applicable to

the claims made herein, and expressly reserves any and all other defenses, including affirmative

defenses which may become apparent during the course of discovery.




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                                    PRAYER FOR RELIEF

       Based upon the foregoing, Intervenor-Defendants pray that:

        (a) Plaintiffs take nothing by reason of the complaint;

       (b) judgment be entered dismissing the complaint on the merits, in its entirety and with

prejudice;

       (c) the Court stay this case pending final resolution of the proceedings before the Ohio

Supreme Court;

       (d) Intervenor-Defendants recover its costs and attorneys’ fees incurred herein; and

       (e) this Court grant such other relief as it deems just and appropriate.



                                                   Respectfully submitted,

                                                   /s/ Freda J. Levenson
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                                  CERTIFICATE OF SERVICE

       I, Freda J. Levenson, hereby certify that on this 20th day of February, 2022, I

electronically filed the foregoing with the Clerk of Court for the United States District Court for

the Southern District of Ohio, Eastern Division via the ECF system, which will send notification

of such filing to all counsel of record.




                                                             /s/ Freda J. Levenson
                                                             Freda J. Levenson (0045916)
                                                             Counsel for Intervenor-Defendants




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